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AO 91 (Rev. 11/11) Criminal Complaint


                                     UNITED STATES DISTRICT COURT                                               FILED
                                                                for the                                 November 12, 2021
                                                                                                        CLERK, U.S. DISTRICT COURT
                                                    Western District of Texas
                                                 __________             __________                      WESTERN DISTRICT OF TEXAS


                  United States of America                         )
                                                                                                                        kkc
                                                                                                    BY: ________________________________
                                                                                                                            DEPUTY
                             v.                                    )
                                                                   )      Case No. 1:21-mj-935-ML
                                                                   )
           FRANKLIN BARRETT SECHRIEST                              )
                                                                   )
                                                                   )
                          Defendant(s)


                                                 CRIMINAL COMPLAINT
         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                  October 31, 2021              in the county of                Travis              in the
      Western          District of             Texas           , the defendant(s) violated:

            Code Section                                                     Offense Description
         18 U.S.C. § 844(i)                                                  Arson




         This criminal complaint is based on these facts:
         See attached Affidavit.




         ✔ Continued on the attached sheet.
         u


                                                                                              Complainant’s signature

                                                                                   THOMAS P. JOY, JR., Special Agent, FBI
                                                                                               Printed name and title
u 6ZRUQWREHIRUHPHDQGVLJQHGLQP\SUHVHQFH
✔ 6ZRUQWRWHOHSKRQLFDOO\DQGVLJQHGHOHFWURQLFDOO\
u

Date:       11/12/2021
                                                                                                 Judge’s signature

City and state:                          Austin, Texas                           MARK LANE, United States Magistrate Judge
                                                                                               Printed name and title
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                             UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF TEXAS
                                    AUSTIN DIVISION


UNITED STATES OF AMERICA,                          §
                                                   §
                       Plaintiff.                  §
                                                   §
v.                                                 §                    1:21-mj-935-ML
                                                          CRIMINAL NO. ________________
                                                   §
FRANKLIN BARRETT SECHRIEST,                        §
                                                   §
                       Defendant.                  §


                 AFFIDAVIT IN SUPPORT OF CRIMINAL COMPLAINT

       I, Thomas P. Joy, Jr., being duly sworn, depose and state as follows:

       1.      I have been employed as a Special Agent (SA) of the Federal Bureau of

Investigation (FBI) since July 1999. I am currently assigned to the Public Corruption/Civil Rights

White Collar squad located in the Austin Resident Agency of the San Antonio Field Office. As

such, I investigate federal criminal violations related to complex financial crimes, public

corruption and civil rights matters including color of law violations and hate crimes. Through

formal and on the job training, I am experienced in crimes involving violations of civil rights. As

a Federal Agent, I am authorized to investigate violations of laws of the United States and to

execute warrants issued under the authority of the United States. I have participated in the

execution of numerous arrest warrants in cases involving crimes against civil rights and other

federal crimes that fall within the FBI’s investigative jurisdiction.

       2.      This affidavit is submitted in support of a criminal complaint against Defendant

FRANKLIN BARRETT SECHRIEST, year of birth 2003, for violation of Title 18, United States

Code, Section 844(i), which makes it a crime for anyone to maliciously damage or destroy by




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means of fire any building used in interstate commerce or used in any activity affecting interstate

commerce, or to attempt to do so.

       3.      This affidavit is based on my personal knowledge, as well as reports made by other

law enforcement officers, including FBI special agents and Austin (Texas) Fire Department (AFD)

investigators. Because this affidavit is being submitted for the limited purpose of establishing

probable cause for the issuance of the Complaint, it does not contain every fact known to me or

other law enforcement officers.

                                              Facts

       4.      On or about October 31, 2021, at approximately 9:00 pm CDT, FRANKLIN

BARRETT SECHRIEST set an intentional fire at religious real property of the Congregation Beth

Israel synagogue located at 3901 Shoal Creek Blvd., Austin, Texas, in the Western District of

Texas (hereinafter “Synagogue”).

       5.      AFD Arson investigators examined the scene and conducted witness interviews.

AFD Arson investigators determined that the fire was intentionally set and thus an act of arson.

AFD Arson Investigators also observed burn patterns consistent with the use of a liquid accelerant

and ruled out all ignition sources except an open flame introduced by human means.

       6.      I reviewed surveillance videos from security cameras at the Synagogue recorded

around 9:00 pm CDT on October 31, 2021. Video overlooking the Synagogue’s parking lot depicts

a dark colored SUV attempt to park in the north parking lot of the Synagogue. The driver, a white

male wearing green utility pants and a black shirt, later identified as Defendant SECHRIEST, got

out of the vehicle. The vehicle then began to roll backward, requiring Defendant to jump back

into the vehicle to stop the vehicle’s backward motion.




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       7.       Defendant then left the vehicle a second time, leaving the driver’s side door open,

and walked around the front of the vehicle towards the Synagogue and out of view of the parking

area security cameras.

       8.      In surveillance video from security cameras overlooking the walkway to the

Synagogue administration office, Defendant, seen with a face covering and watch on his right wrist

and carrying a green container in one hand – similar in size, shape, and color to a green five-gallon

VP Racing Fuel utility jug – and a roll of toilet paper in the other hand, walked up a handicap ramp

towards the Synagogue’s administration office entrance. The five-gallon utility jug may have been

full or near full, because Defendant leaned to one side while carrying the jug.

       9.      A few seconds later, the video shows Defendant walking back down the handicap

ramp away from the administration office entrance, carrying the jug and toilet paper, and then

walking along an adjacent pathway toward the front doors of the Synagogue sanctuary and out of

view of the security camera.

       10.     Multiple surveillance videos then captured the distinct glow of a fire ignition

appearing to come from the direction of the Synagogue sanctuary. Within seconds after the fire

ignition, surveillance video from the parking area security camera shows Defendant jogging away

from the direction of the Synagogue sanctuary and the ignited fire towards the open driver’s side

door of the SUV.

       11.     Surveillance video then shows Defendant putting the jug into the SUV, entering the

SUV through the driver’s side door, and remaining inside the stationary vehicle for several

seconds. The SUV then went in reverse and departed the parking area.

       12.     Defendant appeared to be alone at the Synagogue during the entire time he was

there on October 31, 2021, as no other persons were observed on surveillance footage.




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        13.     I later observed surveillance video from the Synagogue recorded on October 28,

2021. Video from a parking lot camera showed a dark colored SUV, similar in appearance and

body style to the SUV used by Defendant on October 31, 2021, enter the north parking lot closest

to the Synagogue’s sanctuary and drive away shortly thereafter. A few minutes later, the same

vehicle appeared on video from a security camera covering the front entrance to the Synagogue’s

Child Development Center (CDC). The CDC is a building physically connected to the Synagogue

structure.

        14.     Surveillance video showed the vehicle drive through the roundabout in front of the

CDC, hit and park on the curb directly in front of the Child Development Center, and using what

appeared to be the flashlight from a cellular smart phone and shining it toward the entrance to the

CDC. The video clearly shows the SUV, which was later identified as a black Jeep Cherokee

bearing Texas license plate PMZ-0448. The vehicle was being driven by a white male with dark

colored hair. After approximately 30 seconds, the Jeep Cherokee departed from camera view.

        15.     The following is a still frame from surveillance footage on October 28, 2021,

showing the black Jeep Cherokee bearing Texas license plate PMZ-0448:




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       16.     The following is a still frame from surveillance footage on October 31, 2021,

showing the dark colored SUV in the Synagogue’s parking lot:




       17.     Texas Department of Motor Vehicle Records showed that the black Jeep Cherokee

bearing Texas license plate PMZ-0448 was a 2021 Jeep Cherokee registered to a person believed

to be a relative of Defendant at a residence in San Marcos, Texas. Further investigation indicated

that Defendant resided at the same residence.

       18.     On November 8, 9, and 10, 2021, a FBI surveillance team observed Defendant

driving the 2021 Jeep Cherokee bearing Texas license plate PMZ-0448, including to and from

Texas State University in San Marcos, Texas, where Defendant attends classes. Agents believe he

matched the person seen in the October 31 Synagogue surveillance video.

       19.     On November 10, 2021, FBI executed federal search warrants issued by this Court

authorizing the search of and seizure of evidence from Defendant’s residence in San Marcos,

Texas, the 2021 Jeep Cherokee motor vehicle, and Defendant’s person.




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         20.   During the execution of the search warrants, investigators found, among other

things, clothes consistent with the clothes Defendant was seen wearing on the October 31

surveillance videos during the commission of the arson, including green utility pants, and work

boots.

         21.   During the searches, agents also recovered an American Express card bearing an

account number ending in 2036 in a wallet both of which, according to a person interviewed at the

residence, belonged to Defendant. Investigation revealed that on or about September 6, 2021, an

American Express card bearing an account number ending in 2036 was used at Cabela’s sporting

goods store in Buda, Texas, to purchase a green five-gallon VP Racing Fuel utility jug.

         22.   During the search of the Jeep Cherokee, agents recovered the following items:

three 33oz glass bottles, three 32oz bottles of lighter fluid, a lighter and an orange storm proof

match case with matches. Based on my training and experience, and that of other agents

knowledgeable about explosive devices, these items are consistent with materials that can be used

and combined to produce destructive devices known as Molotov cocktails.

         23.   Also found in the Jeep Cherokee vehicle used by Defendant were three stickers,

shown in the following photograph, along with three of the aforementioned 33oz glass bottles:




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       24.        During the search of the residence, inside a vehicle parked in the garage (not the

2021 Jeep Cherokee), agents recovered a 2021 planning calendar. In the date boxes for August

19 and 20, in handwriting identified by a person interviewed at the residence as belonging to

Defendant, was the phrase “Nigger-appreciation class.” The following is a picture of this planning

calendar entry:




       25.        Agents also recovered journals, confirmed by a person interviewed at the residence

as belonging to Defendant and in his handwriting, containing statements believed to relate to



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Defendant’s preparation for the arson, his commission of the arson at the Synagogue on October

31, and his subsequent effort in tracking law enforcement’s investigation of the arson.

       26.     An excerpt from Defendant’s journal dated October 28, 2021, depicted below,

contains the phrase “scout out a target,” which comports with the activities seen on Synagogue

video surveillance from October 28:




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       27.      A two-page excerpt from Defendant’s journal dated October 31, 2021, depicted

below, includes the statement “I set a synagogue on fire”:




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       28.      An excerpt from Defendant’s journal dated November 02, 2021, depicted below,

appears to indicate that Defendant was tracking the progress of the investigation from media

reports:




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       29.       Investigation has determined that the fire set by Defendant caused damage to the

real property of the Synagogue in excess of $25,000 and was capable of destroying a building by

means of fire.

       30.       The building comprising the burned portion of the Synagogue is used in interstate

commerce and used in activities affecting interstate commerce. In particular, as noted above, the

Synagogue operates the CDC, which is structurally connected to the Synagogue building that was

set on fire.         According to the CDC’s webpage on the Synagogue’s website,

https://www.bethisrael.org/cdcatcbi.html (last visited November 12, 2021), the CDC operates

preschool programs, charges tuition for its programs, and is open to both members and non-

members of the Synagogue.

                                            Conclusion

       31.       Based on the foregoing, there is probable cause to believe that FRANKLIN

BARRETT SECHRIEST has committed the offense(s) set forth in the attached Criminal

Complaint.



FURTHER AFFIANT SAYETH NAUGHT.




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       I declare under penalty of perjury that the foregoing is true and correct to the best of my

knowledge and belief.




                                                    _____________________
                                                    THOMAS P. JOY, JR.
                                                    Special Agent
                                                    Federal Bureau of Investigation
                                                    Austin, Texas



       Sworn to me by telephone under Rule 4.1 of the Federal Rules of Criminal Procedure on

this 12th day of November, 2021.



                                                    ____________________________________
                                                    UNITED STATES MAGISTRATE JUDGE




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